                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 JOSHUA JARRETT, et al.,

         Plaintiffs,                               Case No. 3:21-cv-00419

 v.                                                Judge William L. Campbell, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 UNITED STATES OF AMERICA,

         Defendant.


                                             ORDER

        The Magistrate Judge held a telephone conference with counsel for the parties on May 5,

2022. In light of the pending motion to dismiss (Doc. No. 41), which is jurisdictional in nature, the

Court will SUSPEND all case management deadlines.

        A telephone conference is set on July 26, 2022, at 10:00 a.m. Counsel shall call (888) 557-

8511 and enter access code 7819165# to participate. Counsel shall be prepared to discuss the status

of the case and the feasibility of entering an amended case management order at that time.

        If the motion to dismiss is denied in full or in part before that date, counsel shall move to

set a case management conference and shall file a joint proposed amended case management order

no later than seven days after entry of the order denying the motion to dismiss.

        It is so ORDERED.



                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




      Case 3:21-cv-00419 Document 63 Filed 05/05/22 Page 1 of 1 PageID #: 731
